                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

HUANG ZHIYANG,                                    §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §
                                                  §     Civil Action No. 1:20-cv-836-LO-IDD
45.COM, an Internet domain name, and              §
JOHN DOE                                          §
                                                  §
               Defendants.                        §
                                                  §




      MOTION TO REOPEN, TO INTERVENE, AND FOR RELIEF FROM FINAL
                          JUDGMENT ORDER

       Zhiyang Huang (“Huang”), by counsel, pursuant to Federal Rules of Civil Procedure 24

and 60(b), hereby respectfully moves this Court to reopen the above-entitled case, to allow him

to intervene in this civil action, and to grant relief from the final judgment order [Dkt. 14] by

setting aside the judgment in this case for the reasons state in his Memorandum in Support filed

contemporaneously with this motion and incorporated herein by reference.
                        Respectfully Submitted,

Dated: April 27, 2021   /s Marla J. Diaz             __
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                        Attorneys for Zhiyang Huang




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was served through the Court’s

electronic filing and service system this 27th day of April, 2021 to counsel of record.




                                                     /s/ Marla J. Diaz
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